         CASE 0:20-cr-00113-DSD-BRT Doc. 37 Filed 03/15/21 Page 1 of 4




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



United States of America,
                                                      Crim. No. 20-113(2) (DSD/BRT)
                     Plaintiff,

v.
                                                        ARRAIGNMENT ORDER
Mena D Yousif,

                     Defendant.



       A Superseding Indictment was filed on July 23, 2020, in the above matter. (Doc.

No. 17.) The Defendant was arraigned on March 15, 2021. Defendant was present in

court with her attorney Bruce Rivers, Esq. The Government was represented by Emily

Polachek, Assistant United States Attorney.

       Pursuant to the Due Process Protections Act, the Court confirms the United

States’ obligation to disclose to the defendant all exculpatory evidence- that is, evidence

that favors the defendant or casts doubt on the United States’ case, as required by Brady

v. Maryland, 373 U.S. 83 (1963) and its progeny, and ORDERS the United States to do

so. Failure to do so in a timely manner may result in consequences, including, but not

limited to, exclusion of evidence, adverse jury instructions, dismissal of charges,

contempt proceedings, disciplinary action, or sanctions by the Court.

       Pursuant to Local Rule 12.1 (copy attached), IT IS FURTHER HEREBY

ORDERED that:
              CASE 0:20-cr-00113-DSD-BRT Doc. 37 Filed 03/15/21 Page 2 of 4




         1.       The government must make all disclosures required by Federal Rule of

Criminal Procedure 16(a) by March 22, 2021. D. Minn. LR 12.1(a)(1). In order to avoid

the need for a recess of the motions hearing, the government is requested to make, by

March 22, 2021, all disclosures which will be required by Fed. R. Crim. P. 26.2 and

12(h).

         2.       Defendants must make all disclosures required by Federal Rule of Criminal

Procedure 16(b) by March 29, 2021. D. Minn. LR 12.1(a)(2).

         3.       All motions in the above-entitled case must be filed and served consistent

with Federal Rules of Criminal Procedure 12(b) and 47 on or before April 5, 2021. 1 D.

Minn. LR 12.1(c)(1). Counsel are advised that Magistrate Judge Thorson does not

require any courtesy copies related to pretrial motions. Counsel must electronically

file a letter on or before April 5, 2021 if no motions will be filed and there is no need

for hearing.

         4.       All responses to motions must be filed by April 19, 2021. D. Minn. LR

12.1(c)(2).

         5.       Any Notice of Intent to Call Witnesses must be filed by April 19, 2021. D.

Minn. LR. 12.1(c)(3)(A).

         6.       Any Responsive Notice of Intent to Call Witnesses must be filed by April

22, 2021. D. Minn. LR 12.1(c)(3)(B).


1
       “Before filing a motion under Fed. R. Crim. P. 12(b), the moving party must
confer with the responding party. The parties must attempt in good faith to clarify and
narrow the issues in dispute.” D. Minn. LR 12.1(b).
                                                2
           CASE 0:20-cr-00113-DSD-BRT Doc. 37 Filed 03/15/21 Page 3 of 4




      7.       A motions hearing will be held pursuant to Federal Rules of Criminal

Procedure 12(c) where:

               a.      The government makes timely disclosures and Defendant identifies
                       in the motions particularized matters for which an evidentiary
                       hearing is necessary; or

               b.      Oral argument is requested by either party in its motion, objection or
                       response pleadings.

      8.       In the event motions a hearing is required, the hearing will be set for May

11, 2021, beginning at 10:00 a.m. On or before April 23, 2021, counsel for the

Defendant must file a letter on ECF indicating whether Defendant consents to hold the

motions hearing in this matter via videoconference.

      9.       TRIAL

               a.      IF NO PRETRIAL MOTIONS ARE FILED BY DEFENDANT:

      the following trial and trial-related dates are:

               All voir dire questions, jury instructions, and trial related motions

(including motions in limine) must be submitted to District Judge David S. Doty on or

before July 6, 2021.

               This case shall commence trial on July 12, 2021, at 9:00 a.m. before

District Judge David S. Doty in Courtroom 14W, Diana E. Murphy U.S. Courthouse, 300

South Fourth Street, MINNEAPOLIS, Minnesota.

               b.      IF PRETRIAL MOTIONS ARE FILED, the trial date, and

other related dates, will be rescheduled following the ruling on pretrial motions.



                                               3
        CASE 0:20-cr-00113-DSD-BRT Doc. 37 Filed 03/15/21 Page 4 of 4




Counsel must contact the Courtroom Deputy for District Judge David S. Doty to

confirm the new trial date.



Dated: March 15, 2021                s/David T. Schultz
                                     United States Magistrate Judge




                                       4
